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           In the United States Court of Federal Claims
                                     No. 17-1542
                                 Filed: June 23, 2022
 ________________________________________
                                                )
 LOCAL INITIATIVE HEALTH AUTHORITY              )
 FOR LOS ANGELES COUNTY,                        )
                                                )
                      Plaintiff,                )
                                                )
    v.                                          )
                                                )
 THE UNITED STATES,                             )
                                                )
                      Defendant.                )
 ________________________________________ )


                                            ORDER

       On or before July 8, 2022, the parties shall file a joint status report setting forth their
proposed schedule for further limited proceedings consistent with the Federal Circuit’s March 4,
2022 Order, ECF No. 67.

IT IS SO ORDERED.




                                                            s/ Edward H. Meyers
                                                            Edward H. Meyers
                                                            Judge
